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                                   STATEMENT OF FACTS

        Your affiant,                    is a Special Agent currently assigned to the Cleveland
Division, Canton Resident Agency of the Federal Bureau of Investigation and have held that
position for approximately 18 years. In my duties as a Special Agent during that time, I have
participated in investigations of, among other things, violent crimes, threats, gangs, drugs,
domestic and international terrorism, and other federal offenses, including the execution of arrest
and search warrants. Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       After these events on January 6, 2021, the FBI received numerous tips from members of
the public concerning the individuals who unlawfully entered restricted grounds and the Capitol
building. On or about January 12, 2023, an individual (Witness 1) contacted the FBI to report that
Mason PORTER (PORTER) was on Capitol grounds on January 6, 2021. Witness 1 identified
PORTER in the following photograph from an open-source news article:




                                                                               1

                               Image 1: PORTER circled in yellow




1
 https://www.newsandsentinel.com/news/local-news/2021/01/parkersburg-man-shares-
experience-from-u-s-capitol/
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       Witness 1 also identified PORTER in Image 2 in a public social media post.




                                            Image 2

        As part of my investigation, I reviewed video footage and still images that were taken in
the vicinity of the Capitol on January 6, 2021, including Closed-Circuit Television (“CCTV”),
body-worn camera (“BWC”) footage from Metropolitan Police Department (“MPD”) officers who
responded to the Capitol on that date and footage and social media posts that has been made
publicly available on the internet.

        As part of the investigation, on April 7, 2022, the FBI interviewed PORTER at his
residence. During his interview with the FBI, PORTER identified himself in Images 3-10 (included
below) and admitted to being on Capitol grounds on January 6, 2021. During the interview,
PORTER told the FBI that he had traveled by car to Washington, D.C. on the morning of January
6, 2021 with two of his friends from work. PORTER told the FBI that he decided to travel to
Washington, D.C. after being invited by his friends from work the previous day.
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       PORTER stated that on the morning of January 6, 2021, PORTER attended what he called
the pro-Trump rally on the Mall in Washington, D.C. After the rally, PORTER walked to the
Capitol building.

        PORTER stated that once he arrived at the Capitol building, he observed police officers
helping people entering and exiting through broken windows. PORTER stated that he observed
people walking through the doors of the building and that he saw police officers opening a door
that people walked through. During his interview with the FBI, PORTER stated that he walked
through a set of doors to enter the Capitol building and walked out the other side of the building.
PORTER stated that he was in a large crowd and stated that he had to move with the crowd.
PORTER stated, "When I was standing down there, there was no backing out of it."

        Based on my review of CCTV footage, PORTER walked into the Capitol building through
a set of doors on the west side of the building at approximately 2:45 p.m. Based on my review of
CCTV at this location, I have not seen any evidence that officers opened the door for rioters.




           Images 3 and 4: Screenshots of CCTV footage, PORTER circled in yellow
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       Based on my review of CCTV footage, once inside, PORTER appeared to take out his
phone to take photos of himself. He peered into an office and continued down the hallway.
PORTER told the FBI that he took photographs during his time in the Capitol building but doesn’t
believe that he took video on his phone in the Capitol building.




         Images 5, 6, and 7: Screenshots of CCTV footage, PORTER circled in yellow

        Based on my review of CCTV footage, PORTER remained in the building for over twenty
minutes. At approximately 3:07 p.m., CCTV footage shows police shunting PORTER towards the
North Brumidi door. During his interview with the FBI, PORTER said that he grabbed an ink pen
off a table while walking through the Capitol building.




           Images 8 and 9: Screenshots of CCTV footage, PORTER circled in yellow
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                          Image 10: Screenshot of open-source video

       PORTER stated that while he was on Capitol grounds, he saw an individual that was
attempting to climb an outside wall of the Capitol building. PORTER said he attempted to help
him, but the individual ended up sliding back down the wall. Image 1 (shown above) appears to
show PORTER helping a fellow rioter ascend a Capitol building wall.

       In his interview with the FBI, PORTER stated that he didn’t observe any violence, but did
see bloody rags outside of the Capitol building. During an interview, PORTER told the FBI that
he wasn’t there to do anything wrong, but he realized that it was wrong once he was inside the
Capitol building.
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        However, PORTER posted a message on his Facebook page on January 7, 2021, which
stated in part:

       “It's funny that people are ok living in fear of losing their constitutional rights and
       freedoms. People take action and use their constitutional right to fight against the
       corruption and destruction and the future of our country is some how a bad thing.
       …

       Our forefather gave us the 2nd amendment because they knew power the
       government was gonna have. And if corrupted they knew that violence and the 2nd
       ammendment [sic] would be the only defense against it. Love it or hate it this is
       America its brick and mortar foundation was built with an understanding of this
       happening. I don't feel shame. Note even close! There was no violence on ourside
       [sic] yesterday and we were UNARMED and still took the capital building. Imagine
       what could happen if we exercised our second amendment to the fullest. That fear
       is why the media is twisting the narrative in this. They knew they are vulnerable
       now.”


                       PROBABLE CAUSE OF VIOLATIONS OF LAW

         Based on the foregoing, your affiant submits that there is probable cause to believe that
PORTER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that PORTER violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      __                                   _____

                                                      Special Agent
                                                      Federal Bureau of Investigation
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Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 1st__ day of February 2024.



                                             ___________________________________
                                             HONORABLE G. MICHAEL HARVEY
                                             UNITED STATES MAGISTRATE JUDGE
